AO 91 (Rev 8/01) CoussCompae-M|-O2040 Document 1_ Filed on 10/19/22 in TXSD_ Page 1Wiitéd States Courts
Southern District of Texas

United States District Court FILED

SOUTHERN DISTRICT OF TEXAS October 19, 2022
McALLEN DIVISION

 

Nathan Ochsner, Clerk of Court

UNITED STATES OF AMERICA
v. CRIMINAL COMPLAINT
Miguel Angel Jota-Valadez Case Number:

YOB: 1992 COB: Mexico M-22- 02040-M

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my knowledge and belief.

On or about October 18, 2022 in Hidalgo County, in the
Southern District of Texas

(Track Statutory Language of Offense)

Ct. 1 knowing or in reckless disregard of the fact that Andy Saul Quintanilla-Campos, a citizen and national of El Salvador, and

Arnold Javier Pineda-Esteves, a citizen and national of Honduras, along with seventeen (17) other undocumented aliens, for a

total of nineteen (19) who had entered the United States in violation of law, did conspire to conceal, harbor or shield from

detection or attempt to conceal, harbor, or shield from detection such aliens in any place, including any building or means of
transportation, to wit; a residence located in Edinburg, Texas,

 

Ct. 2 knowing or in reckless disregard of the fact that Andy Saul Quintanilla-Campos, a citizen and national of El Salvador, and
Arnold Javier Pineda-Esteves, a citizen and national of Honduras, along with four (2) other undocumented aliens, for a total of
four (4) who had entered the United States in violation of law, did knowingly transport, or move or attempted to transport said
aliens in furtherance of such violation of law within the United States, that is, from a location near McAllen, Texas to the point of
arrest near Edinburg, Texas,

in violation of Title 8 United States Code, Section(s) — 1324(a)(1){Ay{itl), 1324{a){1}{A)(v) & 1324(a)(4)(A)(II) FELONY

I further state that I am a U.S. Border Patrol Agent and that this complaint is based on the following facts:

 

On October 18, 2022, at approximately 3:00pm, Border Patrol Task Force Officers observed three (3) suspected undocumented aliens (UDAs), one
of which was later identified as Andy Saul Quintanilla-Campos, exit a pickup truck and board a grey Honda Accord at a parking lot in McAllen,
Texas. After receiving this information, Border Patrol Agents proceeded to follow the Honda to a residence in Edinburg, Texas, hereafter mentioned
as the target location (TL). The three (3) subjects and driver, later identified as Miguel Angel Jota-Valadez, exited the Honda and entered the TL.
After several minutes, agents observed Jota depart the TL and drive to a parking lot where he picked up one (1) suspected UDA.

Hidalgo County Sheriff Deputies were contact for assistance and conducted a traffic stop for a traffic violation. Agents questioned Jota about his
immigration status, to which he admitted to being illegally present in the United States (U.S.). When asked about his involvement with alien
smuggling, he admitted to transporting (UDAs) to the TL. Jota stated there were approximately twelve (12) UDAs at the TL. The two (2) passengers
were questioned about their immigration status, and each admitted to being illegally present in the U.S.

Agents and Deputies proceeded to the TL to conduct a knock and talk. After identifying themselves as law enforcement, seventeen (17) subjects
exited the TL, all of which were determined to be illegally present in the U.S. Jota and nineteen (19) UDAs were arrested and transported the
McAllen Station for processing.

Continued on the attached sheet and made a part of this complaint: [x]ves |__|No

Complaint authorized by AUSA D. Walker /si Shakira Singho
Signature of Complainant

 

Submitted by reliable electronic means, sworn to and attested .
telephonically per Fed. R. Cr.P.4.1, and probable cause found on: Shakira Singho Border Patrol Agent

Printed Name of Complainant
October 19,2022 3:03 PM at McAllen, Texas

Date IM State
Nadia S. Medrano _U. S. Magistrate Judge WI

Name and Title of Judicial Officer Signature eponicel Officer
Case 7:22-7: GRPEBPSTATES DISPRIGTEOURTSS Pave 2012
SOUTHERN DISTRICT OF TEXAS
McALLEN, TEXAS

ATTACHMENT TO CRIMINAL COMPLAINT:
M-22- 92040 -M

RE: Miguel Angel Jota-Valadez

CONTINUATION:
PRINCIPAL STATEMENT:

Miguel Angel Jota-Valadez, a citizen and national of Mexico, was read his Miranda Rights at the time of
apprehension. He understood his Rights and agreed to make a statement.

Jota claimed he was contacted by an unknown person to transport UDAs to the TL and was aware the
people he transported were illegally present in the U.S.

MATERIAL WITNESS STATEMENT I:

Andy Saul Quintanilla-Campos, a citizen and national of El Salvador, was read his Miranda Rights. He
understood his Rights and agreed to provide a statement.

Quintanilla stated he made arrangements to be smuggled to Connecticut and paid $3,200. He said he
crossed the river with seven (7) people and two (2) foot guides. Quintanilla added he eventually boarded a
grey Honda and the driver, “Gordo”, asked him for a password before transporting him to the TL. He said
when he arrived at the TL, Gordo verbally threatened them if they failed to follow the rules.

Quintanilla identified Miguel Angel Jota-Valadez, through a photo line-up, as “Gordo”.
MATERIAL WITNESS STATEMENT 2:

Arnold Javier Pineda-Esteves, a citizen and national of Honduras, was read his Miranda Rights. He
understood his Rights and agreed to provide a statement.

Pineda stated he made arrangements to be smuggled to Houston and paid $9,000. He said he crossed the
river with six (6) people and three (3) foot guides and was eventually picked up by a small car. He said the
driver took his phone before dropping him off at the TL. Pineda stated there were twelve (12) people at the
TL when he arrived. He added the driver delivered people to the TL on four (4) separate occasions. Pineda
also claimed the driver provided food and necessary items.

Pineda identified Miguel Angel Jota- Valadez, through a photo line-up as, the person who transported him
to the TL and delivered food.

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